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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION



UNITED STATES OF AMERICA,


V.                                               CRIMINAL CASE NO. 3:17CR145-2 (REP)


MAMADOU BAH,
        Defendant.



          REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presented to the Court upon the written consent ofthe Defendant and counsel for the Defendant to
proceed before a United States Magistrate Judge, said consent including the Defendant's

understanding that he consented to not only having the Magistrate Judge conduct the hearing and
enter any order offorfeiture, if applicable, but also tohaving the Magistrate Judge make necessary
findings and accept any guilty plea as may be entered that could not be withdrawn except for a fair
and just reason.

          The Court accepted the Defendant's waiver ofhis right to proceed byindictment after

specific inquiry was made ofthe Defendant as to his understanding ofthe right to require
prosecution by indictment. The Defendant pled guilty to Counts One and Two ofthe Criminal
Information in open court and pursuant toa Rule 11 inquiry. Upon consideration ofthe responses

and statements made by the Defendant under oath, on the record, and based upon thewritten plea

agreement and statement of facts presented, the Court makes thefollowing findings:
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    1.   That the Defendant is competent to enter a plea of guilty;

   2.    That the Defendant understands the nature of the charge against him to which his

         plea is offered;

   3.    That the Defendant understands what the maximum possible penalties are upon

         conviction of the offense charged, including any mandatory minimum periods of

         confinement, the effect of any required term of supervised release, the loss of

         various civil rights (if applicable, including the right to vote,the right to holdpublic

         office, the right to own and possess a firearm), the possibility of adverse

         immigration consequences (if applicable), the required imposition of a special

         assessment, forfeiture of real and/or personal property (if applicable), and

         restitution (if applicable);

    4.   That the sentencing court has jurisdiction and authorityto impose any sentence

         within the statutory maximums provided; can reject the parties' stipulations as to

         drug quantity and/or any sentencing factors; will determine the defendant's actual

         sentence in accordance with 18 U.S.C. § 3553(a); and, after considering the factors

         set forth in 18 U.S.C. § 3553(a), may impose a sentence above or belowthe

         advisory sentencing range, subject only to review by higher courts for

         reasonableness;

    5.   That the Defendant understands his right to persist in a plea of not guilty and

         require that the matter proceed to trial with all the rights and privileges attending a

         trial, including, butnot limited to: the right to effective assistance of counsel; the

         right to use the power and processes of the Court to compel evidence on the

         Defendant's behalf; the right to confront and cross-examine adverse witnesses; the
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              right to present relevantevidence; the right to remain silent; and, the right to trial by

              jury;

       6.     That the Defendant understands that he is waiving any right to appeal whatever

              sentence is imposed by pleading guilty, evenif the sentence is erroneous, as long as

              said sentence does not exceed the total statutory penalties provided;

       7.     That the Defendant understands all provisions of the writtenplea agreement which

              was reviewed in essential part with the Defendant during the proceeding;

       8.     That the plea of guilty entered by the Defendant was knowingly and voluntarily

              entered and is not the result of force or intimidation of any kind; nor is it the result

              of any promises other than the representations set forth in the plea agreement; and

       9.     That the plea of guilty entered by the Defendant was knowingly and voluntarily

              made with full knowledge of the consequences and with an independent basis in

              fact to support said plea).

       Accordingly, the Court accepted the Defendant's plea ofguilty to the Criminal Information
and entered judgment ofguilt on the subject charge. Itis therefore the recommendation ofthe
Court that its findings, including the acceptance ofthe Defendant's plea ofguilty and resulting
judgment of guilt, be adopted.



                                                              /s/
                                              David J. Novak
                                              United States Magistrate Judge

Richmond, Virginia
Date: November 17, 2017
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                                          NOTICE


       The Defendant is advised that he/she may file specific written objection to this report

and recommendation with the Court within fourteen (14) days of this date. If objection is

noted, the party objecting must promptly arrange for the transcription of the relevant

record and file it forthwith with the Court for its use in any review. Failure to object in

accordance with this noticc, including the requirement for preparation of a transcription of

the relevant portions of the record, will constitute a waiver of any right to de novo review of

the matter and may result in adoption of the recommendation, including the finding of guilt

as entered by the magistrate judge.
